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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    AMARILLO DIVISION

 ALLIANCE FOR HIPPOCRATIC
 MEDICINE, et al.,

             Plaintiffs,

 v                                                           2:22-CY-223-2

 U.S. FOOD AND DRUG
 ADMINISTRATION, et al.,

             Defendants.

                                              ORDER

        Before the Court is Missouri, Kansas, and Idaho's (collectively, "the States") Motion for

Leave to Proceed Without Local Counsel ("Motion") (ECF No. 153), filed on November 3,2023.

The States "move the Court under Local Rule 83.10(a) to waive the requirement to obtain local

counsel who resides or has a principal office located within 50 miles of the courthouse." Id.

And in the alternative, "the States ask for the Court to stay that requirement temporarily." Id.

        This Court has routinely waived Rule 83.10(a)'s requirement for local counsel in this case.

See ECF No. 94 (granting several such motions). Moreover, the States persuasively argue that

they, as sovereign states, are similarly situated to attomeys appearing on behalf of the Federal

Government or the Texas Attorney General          all of which are exempted by the Rule. ECF No.
                                              -
153 at l. Accordingly, the Court GRANTS the Motion and waives the requirement as to the States.

        SO ORDERED

        November 7,zozl


                                                      MA            J. KACSMARYK
                                                                STATES DISTRICT JUDGE
